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                               United States Government Accountability Office
                                                                                 B
                             Report to Congressional Requesters




                             HIGHER EDUCATION
April 2022




                             Education Needs to
                             Strengthen Its
                             Approach to
                             Monitoring Colleges’
                             Arrangements with
                             Online Program
                             Managers




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                                            April 2022

                                            HIGHER EDUCATION
                                            Education Needs to Strengthen Its Approach to
                                            Monitoring Colleges' Arrangements with Online
Highlights of GAO-22-104463, a report to
                                            Program Managers
congressional requesters




Why GAO Did This Study                      What GAO Found
Almost three-quarters of the nation’s       At least 550 colleges worked with an online program manager (OPM) to support
college students were enrolled in an        at least 2,900 education programs (e.g., certificate and degree programs) as of
education program offered at least          July 2021, according to the most recently available market research data.
partially online in 2020. Some colleges     However, the exact number of OPM arrangements is unknown, due to a lack of
have contracted with third parties,         comprehensive data, and there could be more of these OPM arrangements.
known as OPMs, to help them deliver         Available market research data show that the number of new arrangements
programs online and recruit students        between colleges and OPMs is growing. There were at least 20 new
for these programs.                         arrangements between colleges and OPMs in 2010, and by 2020 the number
GAO was asked to review Education’s         had grown to at least 165. About 90 percent of the colleges with OPM
role in overseeing colleges’ use of         arrangements are public or nonprofit colleges. GAO found that OPMs commonly
OPMs. This report examines (1)              recruit students for colleges, making these arrangements subject to the
colleges’ use of OPMs and (2) the           Department of Education’s oversight and the Higher Education Act’s ban on
extent to which Education’s monitoring      incentive compensation—which was designed to prevent abusive recruiting
instructions ensure that it obtains the     practices.
information needed to assess whether
OPM arrangements comply with the            How Colleges Work with Online Program Managers
incentive compensation ban. GAO
analyzed data and information from a
market research firm, a higher
education research firm, and seven
OPM companies with the largest
number of arrangements with colleges.
GAO reviewed relevant regulations
and agency guidance on Education’s
monitoring policies and procedures.
GAO interviewed Education officials as      Education’s monitoring instructions for annual audits and agency reviews do not
well as officials from selected colleges,   ensure it obtains information about colleges’ OPM arrangements to fully assess
three audit firms, and a state audit        compliance with the ban on incentive compensation.
office that were identified through
research and referrals.                     •   Education relies on independent auditors to collect information on OPM
                                                arrangements to identify potential violations of the incentive compensation
What GAO Recommends                             ban; however, auditor instructions lack some key details. For example, the
GAO is making two recommendations               instructions do not specifically reference OPMs or a key piece of guidance
to Education to improve instructions for        that Education released in 2011. As a result, compliance audits may not
auditors and colleges to help                   assess relevant OPM arrangements.
Education obtain the information
                                            •   Education depends on colleges to provide information about their OPM
needed to assess OPM arrangements
for incentive compensation violations.
                                                arrangements during audits and agency reviews. However, Education’s
Education agreed with GAO’s                     instructions to colleges also lack key details about identifying OPM
recommendations and described plans             arrangements subject to agency oversight and consequently colleges do not
to address them.                                always report such arrangements, according to agency officials.
                                            Without clearer instructions to auditors and colleges about the information on
                                            OPM arrangements that must be assessed during compliance audits and agency
                                            reviews, there is a risk that Education will not have the information it needs to
                                            detect incentive compensation violations.
View GAO-22-104463. For more information,
contact Melissa Emrey-Arras at (617) 788-
0534 or emreyarrasm@gao.gov.


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                 Abbreviations

                 Education         Department of Education
                 IPEDS             Integrated Postsecondary Education Data System
                 OIG               Office of the Inspector General
                 OMB               Office of Management and Budget
                 OPM               online program manager




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                              Letter




441 G St. N.W.
Washington, DC 20548




                              April 5, 2022

                              The Honorable Patty Murray
                              Chair
                              Committee on Health, Education, Labor, and Pensions
                              United States Senate

                              The Honorable Robert “Bobby” Scott
                              Chairman
                              Committee on Education and Labor
                              House of Representatives

                              The Honorable Sherrod Brown
                              United States Senate

                              The Honorable Tina Smith
                              United States Senate

                              The Honorable Elizabeth Warren
                              United States Senate

                              While overall enrollment in college has declined in recent years,
                              enrollment in online education has increased, and the number of college
                              students enrolling in online education has grown considerably during the
                              COVID-19 pandemic. 1 According to Department of Education (Education)
                              data, the percent of college students enrolled in education programs
                              offered entirely or partially online increased from about 26 percent of total
                              enrollment in 2013 to 73 percent in 2020. 2 The number of students
                              enrolled in exclusively online programs increased 150 percent from 2019


                              1For purposes of this report, “college” includes 2- and 4-year degree-granting U.S.
                              institutions, as well as those that provide technical postsecondary training in certificate
                              programs of shorter duration in the U.S.
                              2Online  student enrollment increased from about 5.5 million out of 20.8 million total
                              students in 2013 to about 14 million out of 19.4 million in 2020. Education uses the
                              Integrated Postsecondary Education Data System (IPEDS) to collect information on
                              student enrollment in “distance education,” which the agency defines as education that
                              uses one or more technologies to deliver instruction to students who are separated from
                              the instructor. In this report, we use “online education” and “distance education”
                              interchangeably. U.S. Department of Education, National Center for Education Statistics,
                              Integrated Postsecondary Education Data System, 2013, 2020.




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                 to 2020. 3 According to a survey recently published by a higher education
                 organization, 85 percent of responding colleges reported moving courses
                 online to provide emergency remote learning in the fall of 2020 because
                 of the pandemic. Almost 60 percent of responding colleges said they plan
                 to continue some or all of their remote learning online after the
                 pandemic. 4

                 Colleges can contract with third parties, commonly known as online
                 program managers (OPM), for services that enable colleges to offer their
                 programs online. 5 In addition to providing services such as instructional
                 design and technology support, OPMs can provide colleges with
                 marketing and student recruitment. The Higher Education Act of 1965, as
                 amended, prohibits colleges from providing incentive payments to either
                 individuals or contracted third parties engaged in student recruiting based
                 on their success in enrolling students. 6 This incentive compensation ban
                 was created to eliminate financial incentives that could lead to abusive
                 recruiting practices. Education is responsible for enforcing the ban on
                 incentive compensation. You asked us to review colleges’ use of OPMs
                 and Education’s role in ensuring colleges’ compliance with the ban on
                 incentive compensation.


                 3IPEDS   2019, 2020.
                 4The   National Council for State Authorization Reciprocity Agreements, NC-SARA
                 Institution Survey: Perspectives of the Pandemic (October 20, 2021). The National Council
                 for State Authorization Reciprocity Agreements is a membership organization that sets
                 shared standards for postsecondary distance education courses and programs that are
                 offered across state lines. It collects data on students from its membership of about 2,300
                 colleges that are located in all states except California.
                 5We  use the term third party in this report to represent outside entities with which colleges
                 may enter into arrangements. We use this term to include both for-profit companies and
                 nonprofit organizations. We are not referring exclusively to “third party servicers” as the
                 term is defined in the Higher Education Act, which describes entities that perform specific
                 financial aid administration services for colleges.
                 6The   Higher Education Act prohibits colleges from providing any commission, bonus, or
                 other incentive payment based directly or indirectly on success in securing enrollments or
                 financial aid to any persons or entities engaged in any student recruiting or admission
                 activities or in making decisions regarding the award of student financial assistance, with
                 the exception of recruiting foreign students residing in foreign countries who are not
                 eligible to receive federal student assistance. 20 U.S.C. § 1094(a)(20). According to
                 Education’s regulations, certain adjustments to recruitment staff’s salary (such as
                 longevity bonuses) may be acceptable as long as these adjustments are consistent with
                 this prohibition on the payment of incentive compensation. In this report, we refer to this
                 prohibition as the incentive compensation ban.




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                 This report examines (1) colleges’ use of OPMs and how commonly OPM
                 arrangements include services that are subject to the ban on incentive
                 compensation and (2) the extent to which Education’s monitoring
                 instructions ensure that it obtains the information it needs to assess
                 whether OPM arrangements comply with the incentive compensation ban.

                 To describe what is known about colleges’ use of OPMs, we obtained
                 data from the market research firm LISTedTECH. 7 This included
                 summary information on the number of colleges working with OPMs and
                 characteristics of these colleges and education programs, as of July
                 2021. We assessed the reliability of these data by reviewing information
                 about the company’s data collection and quality assurance methods, and
                 conducted manual checks for errors. Because there are no public data
                 sources relating to colleges’ arrangements with OPMs, we cannot confirm
                 that LISTedTECH’s data capture every OPM arrangement. However, we
                 found the data to be reliable for the purpose of estimating the prevalence
                 of OPM arrangements and OPM-supported education programs, as well
                 as providing general descriptive characteristics of colleges that work with
                 OPMs.

                 To describe what is known about how commonly OPMs provide services
                 subject to the ban on incentive compensation, we conducted interviews or
                 requested written responses from eight of the largest OPM companies
                 and received responses from seven. 8 We also obtained summarized
                 results from a 2019 survey of 145 college leaders conducted by
                 Eduventures Research. 9 We assessed the reliability of these data by
                 reviewing information about the survey design and quality assurance
                 methods. We determined the data were reliable for describing the
                 characteristics of the OPM arrangements at the survey respondents’

                 7LISTedTECH    is a market research firm that tracks systems used in education. According
                 to the company’s website, its goal is to help colleges and universities, consultants, higher
                 education companies, and investment firms leverage data to better understand the higher
                 education information technology market. Based on our research, LISTedTECH is one of
                 a few companies that collects information on the use of OPMs, and its data are used by
                 other researchers who study OPMs.
                 8We  contacted the eight largest OPM companies, according to LISTedTECH’s data. At the
                 time of our data request, one of the largest OPM companies was working to acquire
                 another of the largest companies. These eight OPMs represent approximately one-half of
                 all OPM arrangements identified by LISTedTECH.
                 9Eduventures    Research is a research and advisory firm focused on higher education
                 issues. It is part of the Encoura family (formerly ACT | National Research Center for
                 College and University Admissions).




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                 colleges. The Eduventures Research survey results and information
                 collected from the seven OPMs included details on the services that
                 OPMs provide to colleges, how colleges pay OPMs, and the types of
                 programs OPMs support. We also interviewed selected individuals
                 knowledgeable about this industry that we identified through research and
                 referrals, as well as officials from three colleges that have OPM
                 arrangements. 10

                 To examine Education’s instructions for monitoring compliance with the
                 incentive compensation ban, we reviewed relevant federal laws and
                 regulations, including the Higher Education Act, and documentation on
                 Education’s monitoring policies and procedures. Specifically, we reviewed
                 monitoring documentation related to compliance audits and the agency’s
                 program reviews. We identified any explicit instructions directed to
                 auditors or college officials regarding how they are to assess compliance
                 with the incentive compensation ban for colleges that contract with OPMs
                 for student recruiting. We also analyzed Education’s final audit
                 determination and final program review determination reports that
                 Education identified as containing incentive compensation violations from
                 fiscal years 2012 through 2020. 11 Education identified reports with
                 incentive compensation violations using its Postsecondary Education
                 Participants System, and we assessed the reliability of these data by
                 reviewing the underlying reports associated with each finding and
                 interviewing knowledgeable Education officials about data input and
                 quality assurance methods. 12 We found the data to be reliable to report
                 the number of identified incentive compensation violations.

                 Further, in coordination with representatives from the American Institute
                 of Certified Public Accountants, a national association representing
                 accountants, we selected and interviewed three audit firms and one state
                 auditing office (which we refer to as audit organizations) that audited at

                 10We selected colleges from among those whose OPM contracts were publicly available.
                 We did not assess the OPM arrangements of any college for compliance with the
                 incentive compensation ban. While the perspectives of those we interviewed are not
                 necessarily representative of this field, they provided important context.
                 11We selected this time period because Education issued key guidance that went into
                 effect in July 2011 that was relevant for assessing the compliance of colleges’
                 arrangements with OPMs, and 2020 reports were the most recent available at the time of
                 our review.
                 12Education uses the Postsecondary Education Participants System data system to track
                 its monitoring and enforcement activities.




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                           least one college that contracted with an OPM. 13 In addition, we
                           interviewed Education officials about compliance audit and program
                           review practices and any challenges auditors and agency officials
                           encounter obtaining information to assess whether colleges’ OPM
                           arrangements comply with the incentive compensation ban. We assessed
                           Education’s communications with auditors and colleges about its
                           monitoring policies and procedures against requirements in the Higher
                           Education Act, federal regulations for updating compliance requirements
                           for auditors, and federal internal control standards for designing control
                           activities to achieve objectives and sharing quality information with
                           external parties to help the agency achieve its objectives. 14

                           We conducted this performance audit from August 2020 to April 2022 in
                           accordance with generally accepted government auditing standards.
                           Those standards require that we plan and perform the audit to obtain
                           sufficient, appropriate evidence to provide a reasonable basis for our
                           findings and conclusions based on our audit objectives. We believe that
                           the evidence obtained provides a reasonable basis for our findings and
                           conclusions based on our audit objectives.


Background
Online Program             Though their expertise can vary, OPMs generally provide services that fall
Management                 within a few broad areas: market research, marketing and student
                           recruiting, enrollment management, student retention services, and
                           technology-related support. OPMs can also provide instructional design
                           and curriculum development services to help faculty develop new online
                           courses or transition existing courses to an online format. 15 For the
                           purpose of our report, we consider an OPM to be a third party that works
                           with a college to manage services necessary to develop and deliver an




                           13We considered audit organizations’ size, geographical location, and private/public status
                           to identify a variety of organizations. The perspectives of those we interviewed are not
                           generalizable to all audit organizations, but provide useful insights into audit procedures.
                           14GAO, Standards for Internal Control in the Federal Government, GAO-14-704G
                           (Washington, D.C.: Sept. 2014).
                           15P3EDU:   Innovation and Public-Private Partnership in Higher Education, P3EDU 100: A
                           Directory of Leading Companies Partnering with Colleges and Universities for Strategic
                           and Financial Impact (2020).




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                             online education program. 16 We consider an education program to be one
                             that includes at least two courses. Therefore, our OPM definition excludes
                             single courses, such as massive open online courses, but includes short-
                             term programs, such as microcredentials and bootcamps. Our definition
                             also includes traditional degree programs, such as associates, bachelors,
                             and graduate degrees. Colleges may work with OPMs to support
                             programs that are eligible for federal student aid, as well as short-term
                             programs that are not eligible. 17

Statutory Ban on Incentive   The Higher Education Act requires a college to enter into an agreement
Compensation                 with Education in order to participate in federal student aid programs and
                             award federal aid to its students. 18 Under this agreement, colleges
                             commit to comply with all relevant statutory and regulatory requirements
                             in exchange for access to student aid. Among other things, the Higher
                             Education Act prohibits colleges that participate in federal student aid
                             programs from paying incentive payments, such as commissions or
                             bonuses, to individuals or third parties engaged in student recruiting
                             based on their success in enrolling students. 19 This ban on incentive
                             compensation applies to:


                             16We based our definition of OPMs on the one used by LISTedTECH and Eduventures
                             Research, which are the primary sources of information on OPM arrangements for this
                             report. This definition excludes single service providers or vendors, such as those
                             companies that only provide colleges with the software application for the administration
                             and delivery of online education courses—commonly referred to as learning management
                             systems. Education does not define online program managers, as colleges are not
                             required to report the existence of all OPM arrangements.
                             17To be eligible for federal student aid, a program must meet a specified number of weeks
                             of instruction, be offered by an institution accredited by a recognized accreditor, be
                             authorized by a state, and admit only students who have earned at least a high school
                             diploma. Students enrolled in certain preparatory or teacher certification courses may be
                             eligible to receive limited forms of student aid. 34 C.F.R. § 668.8(h).
                             18For this report, we define federal student aid programs as financial aid programs
                             authorized under Title IV of the Higher Education Act of 1965, as amended. See Pub. L.
                             No. 89-329, tit. IV, 79 Stat. 1219, 1232-54 (codified as amended at 20 U.S.C. §§ 1070-
                             1099d). These include the William D. Ford Federal Direct Loan, the Federal Pell Grant,
                             and the Federal Work-Study Program.
                             19The ban on incentive payments was added to the Higher Education Act of 1965 by the
                             Higher Education Amendments of 1992. See Pub. L. No. 102-325, § 490, 109 Stat. 448,
                             625-27. The Higher Education Act prohibits colleges that receive federal student aid from
                             providing any commission, bonus, or other incentive payment based directly or indirectly
                             on success in securing enrollments or financial aid to any persons or entities engaged in
                             any student recruiting or admission activities or in making decisions regarding the award
                             of student financial assistance. 20 U.S.C. § 1094(a)(20).




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                 •   Third parties: Entities that contract with a college to conduct student
                     recruiting (or other services subject to the incentive compensation
                     ban) for the college. 20
                 •   Individuals: Any employee of the college or contracted third party
                     who conducts student recruiting (or other services subject to the
                     incentive compensation ban) and any higher level employee with
                     responsibility for student recruiting or other covered service.

                 In 2011, Education published a Dear Colleague Letter that provided
                 additional guidance related to the ban on incentive compensation. 21
                 Among other things, Education clarified its view that payment to a third
                 party for student recruiting based on the amount of tuition generated,
                 often referred to as tuition revenue sharing, is considered incentive
                 compensation and is therefore generally prohibited. 22 However, the Dear
                 Colleague Letter explained that Education does not consider some tuition
                 revenue-sharing arrangements to violate the incentive compensation ban
                 if the payment is for a bundle of services that includes recruiting, and if
                 other conditions are met to safeguard against abusive recruiting practices
                 (see fig. 1). 23 This letter also states that OPM staff involved in student
                 recruiting cannot receive prohibited incentive payments, even when the
                 college pays the OPM with a share of tuition revenue for a bundle of
                 services and these safeguards are in place.




                 20We   use the term “third party” to mean “entity” as defined in 34 C.F.R. § 688.14, as any
                 institution or organization that provides a service subject to the incentive compensation
                 ban—the recruiting or admitting of students or that makes decisions about and awards
                 federal student aid funds. Although “entity” may include third party servicers as they are
                 defined in the Higher Education Act, we are not exclusively referring to third party
                 servicers. For example, an OPM that provides recruiting services, but does not administer
                 federal student aid funds, would not be considered a third party servicer.
                 21Education uses Dear Colleague Letters to convey guidance to colleges about the
                 administration of federal student aid programs.
                 22Specifically, in the 2011 Dear Colleague Letter, Education clarified its view that tuition
                 revenue sharing is generally considered indirect incentive compensation based on
                 success in enrolling students, which is prohibited. The statutory ban on incentive
                 compensation prohibits both direct and indirect incentive payments.
                 23According to the Department of Education’s 2011 Dear Colleague Letter, such
                 safeguards were designed to help ensure that the contracted entity is independent from
                 the college and provides services in addition to recruiting, making it less likely for the
                 contracted entity to financially benefit from increasing enrollment through abusive
                 recruiting. Department of Education, Implementation of Program Integrity Regulations,
                 GEN-11-05 (Washington, D.C.: March 17, 2011).




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                            Figure 1: Details of the 2011 Dear Colleague Letter Related to Colleges’ Tuition
                            Revenue-Sharing Arrangements with Online Program Managers (OPM)




                            Note: In the 2011 Dear Colleague Letter, Education clarified its view that payment based on the
                            amount of tuition generated (often referred to as tuition revenue sharing) is considered indirect
                            compensation based on success in enrolling students and is therefore generally prohibited incentive
                            compensation. However, the Dear Colleague Letter explained that Education does not consider some
                            tuition revenue-sharing arrangements between a college and a third party that provides student
                            recruiting—such as an OPM—to violate the incentive compensation ban if the conditions outlined in
                            this table are followed to safeguard against abusive recruiting practices.


                            The incentive compensation ban applies at the college level, and it does
                            not rely on the federal student aid eligibility of individual education
                            programs. Therefore, payments to individuals or third parties that violate
                            the ban on incentive compensation are considered a violation, even if
                            those payments are strictly related to student recruiting for programs that
                            are not eligible for federal student aid, such as short-term programs.

Education’s Oversight of    Education is responsible for ensuring that colleges comply with the
the Ban on Incentive        requirements associated with federal student aid programs. While
                            Education does not have direct oversight authority over the OPM
Compensation
                            company itself, the agency has oversight of colleges’ arrangements with
                            OPMs, if the OPM provides recruiting (or another service subject to the
                            ban on incentive compensation). In this capacity, Education is responsible
                            for enforcing the ban on incentive compensation, and as a penalty for any
                            violation, it has authority to recover from the college federal student aid



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                 funds associated with the violation. Education uses independent
                 compliance audits, program reviews, and other processes to monitor
                 college compliance with federal laws and regulations (see fig. 2).

                 Figure 2: Department of Education’s Primary Methods for Monitoring Colleges’
                 Arrangements with Online Program Managers for Compliance with the Ban on
                 Incentive Compensation




                 Note: Education may also identify potential incentive compensation violations from investigations
                 conducted by its Office of Inspector General or from qui tam lawsuits filed by college employees or
                 other private citizens under the False Claims Act.
                 a
                  Colleges that disburse less than $200,000 in federal student aid funds for 2 consecutive years and
                 meet other conditions may have their audit submission waived for 3 years. The college must then
                 submit a compliance audit covering each year in the period and a financial statement audit for the last
                 year of the waiver period. See 20 U.S.C. § 1094(c)(1)(A)(iii) and 34 C.F.R. § 668.27.


                 Because compliance audits occur annually and are required of all
                 colleges participating in federal student aid programs, this is Education’s
                 primary method for identifying potential violations of the incentive
                 compensation ban. 24 Colleges submit compliance audit reports conducted
                 by independent auditors to Education staff for their review. If Education
                 identifies any program violations, the agency will generally issue a final



                 24Colleges   that disburse less than $200,000 in federal student aid funds for 2 consecutive
                 years and meet other conditions may have their audit submission waived for 3 years. The
                 college must then submit a compliance audit covering each year in the period and a
                 financial statement audit for the last year of the waiver period. See 20 U.S.C. §
                 1094(c)(1)(A)(iii) and 34 C.F.R. § 668.27. In addition to compliance audits and program
                 reviews, Education’s OIG also periodically conducts examinations of colleges, targeting
                 colleges based on complaints and other information. Another way Education can identify
                 violations of the incentive compensation ban is when private citizens sue colleges on
                 behalf of the government for incentive compensation violations.




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                 determination to the college, indicating the violations and any corrective
                 actions.

                 Auditors follow two sets of instructions to assist them in planning and
                 conducting compliance audits for U.S. colleges, depending on the type of
                 college being audited. Auditors use:

                 •   Education’s Office of the Inspector General’s (OIG) audit guide (OIG
                     audit guide) when auditing for-profit colleges and
                 •   The Office of Management and Budget’s (OMB) Compliance
                     Supplement when auditing public and nonprofit colleges. 25

                 While OMB issues the Compliance Supplement, federal agencies are
                 responsible for identifying key program areas considered important for
                 auditors to evaluate for compliance. The agencies provide annual
                 updates to OMB with references to relevant laws, regulations, and other
                 compliance requirements, which can include references to guidance
                 including Dear Colleague Letters. 26 Auditors rely on the supplement to
                 understand a federal program’s objectives, procedures, and compliance
                 requirements; without the supplement, auditors would have to research
                 many laws and regulations for each program. The supplement also
                 provides suggested audit procedures to further assist auditors with their
                 compliance evaluations. Education is responsible for updating the
                 compliance requirements and suggested audit procedures for federal
                 student aid programs.

                 Education also monitors colleges’ compliance with the incentive
                 compensation ban through program reviews. Education staff conduct
                 program reviews of a relatively small number of colleges each year,
                 focusing on selected high-risk colleges using the agency’s program
                 review procedures. During program reviews, Education staff examine



                 25Department of Education, Office of Inspector General, Guide for Audits of Proprietary
                 Schools and for Compliance Attestation Engagements of Third-Party Servicers
                 Administering Title IV Programs (Washington, D.C.: Sept. 2016). Office of Management
                 and Budget, Uniform Administrative Requirements, Cost Principles, and Audit
                 Requirements for Federal Awards, 2 CFR Part 200, Appendix XI, Compliance
                 Supplement. Public and nonprofit colleges that disburse $750,000 or more in federal
                 awards in a fiscal year are required to comply with the audit requirements in the
                 Compliance Supplement. 31 U.S.C. § 7502; 2 C.F.R. § 200.501.
                 26The Compliance Supplement is not designed to be exhaustive, and states that auditors
                 should use their professional judgment, as appropriate.




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                           college records, interview college staff and students, and review relevant
                           student information, among other things.


Arrangements
between Colleges
and OPMs Are
Growing and Often
Include Services
Subject to the
Incentive
Compensation Ban
More than 500 Colleges     At least 550 colleges worked with an OPM as of July 2021, and the
Worked with an OPM as of   number of new arrangements between colleges and OPMs has increased
                           since 2010, according to data we obtained from the market research firm
July 2021, and the
                           LISTedTECH. However, the exact number of OPM arrangements is not
Number of New OPM          known, due to a lack of comprehensive data, and the number of existing
Arrangements Has           arrangements is likely somewhat higher. 27 According to this market
Increased since 2010       research data, at least 20 colleges established a new arrangement with
                           an OPM in 2010, and the annual number of new arrangements generally




                           27LISTedTECH identifies active partnerships—that is, arrangements between OPMs and
                           U.S. colleges whose online program website landing pages were active. This count
                           represents unique arrangements between a college and an OPM. For example, if a
                           college has a contract with two different OPMs, this would be counted as two
                           arrangements in LISTedTECH’s data. LISTedTECH uses multiple methods to collect
                           information on colleges’ OPM arrangements; however, we cannot be certain that it has
                           identified all OPM arrangements. According to a LISTedTECH official, the company
                           estimates that its data account for approximately 80 percent of the market, in part because
                           of the lack of publicly available information on colleges’ arrangements with OPMs.




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                 increased over the next 10 years. In 2020 there was a considerable
                 increase, with at least 165 new arrangements that year. 28

                 OPMs provided services to colleges to support at least 2,900 online
                 education programs as of July 2021, according to the market research
                 data we obtained. The estimated number of new OPM-supported
                 programs offered by colleges each year increased substantially from
                 2010 through 2020. In 2010, at least 25 new online programs were
                 offered by colleges with support from an OPM, and in 2020 the number of
                 new programs grew to at least 385. 29

                 Colleges that contract with OPMs are predominantly public or nonprofit
                 colleges, and they work with OPMs to support a variety of education
                 programs. Approximately 90 percent of the colleges that LISTedTECH
                 has identified as working with an OPM are public or nonprofit colleges,
                 and a vast majority of these colleges are 4-year or above (about 90
                 percent). Relatively few colleges (about 10 percent) that work with OPMs
                 are for-profit colleges. 30 Colleges of different sizes, based on student
                 enrollment, work with OPMs in about equal numbers. According to
                 officials from five of the largest OPM companies that provided us with
                 information, these OPMs commonly work with colleges to support
                 graduate degree programs. 31 However, some of these OPMs support
                 more short-term programs, such as bootcamps, than graduate degree


                 28Holon IQ, another market research firm that collects and analyzes data on the OPM
                 market, has published similar information on the growth in OPM arrangements from 2010
                 through 2020. According to Holon IQ reports, there were an estimated 13 new
                 arrangements in 2010 to support online programs (including bootcamps) at U.S. colleges.
                 These reports state that the number of new OPM arrangements initiated each year
                 increased over the next 10 years, with 180 new arrangements in 2020. Holon IQ, “1,377
                 University Partnerships. OPM & Bootcamp PPPs,” (February 9, 2021) accessed January
                 19, 2022, https://www.holoniq.com/notes/1377-university-partnerships.-opms-bootcamps-
                 and-the-academic-ppp-acceleration./.
                 29According  to a LISTedTECH official, these data may undercount the total number of new
                 online programs implemented each year, as the company was unable to identify
                 implementation dates for approximately 30 percent of online programs.
                 30LISTedTECH’s data show that similar numbers of public and nonprofit colleges work
                 with an OPM. Information about colleges that work with OPM providers are based on data
                 provided by LISTedTECH as of February 2021.
                 31Of the seven OPMs that responded to our request for information, five OPMs provided
                 information about the types of programs they support. Two of the seven OPMs did not
                 respond to this question.




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                 programs. Several colleges work with OPM providers to launch coding
                 and other bootcamps, often in their continuing education departments. 32

                 Colleges can have arrangements with more than one OPM to support
                 different online education programs. 33 For example, we spoke with
                 officials from a 4-year public university that works with three different
                 OPM providers. One OPM supports related health information
                 management degree and certificate programs. Another OPM works with
                 the college to offer cyber security, coding, and data analytics bootcamps.
                 This college also recently entered into a new contract with a third OPM to
                 help the school expand the degree and certificate programs offered by
                 the college’s continuing education department. According to
                 LISTedTECH’s market research data, a small number of OPM companies
                 account for a large share of all OPM arrangements. LISTedTECH has
                 identified approximately 60 companies that provided colleges with OPM
                 services in July 2021, and eight of these companies accounted for
                 approximately one-half of all OPM arrangements. 34




                 32Liz Eggleston, “Best University Coding Bootcamps: Ultimate Guide and Market
                 Research,” Course Report (June 2021), accessed Jan. 21, 2022,
                 https://www.coursereport.com/blog/best-university-coding-bootcamps-ultimate-guide-
                 market-research#Trend.
                 33LISTedTECH’s market research data indicate that, as of July 2021, the approximately
                 60 companies that provided OPM services had a total of at least 885 arrangements with
                 colleges to support online education programs, indicating that some of the estimated 550
                 colleges identified as working with at least one OPM have arrangements with more than
                 one OPM company.
                 34Individuals we spoke with that are knowledgeable about the OPM industry estimate
                 there are between approximately 35 and 60 companies that offer OPM services, as
                 different organizations use somewhat different definitions of online program management.
                 Other research has similarly estimated the number of OPM providers to be between 26
                 and 61, while noting that estimates can vary due to variation in the definition of an OPM
                 and the year during which the list was made. John J. Cheslock, Kevin Kinser, Sarah T.
                 Zipf, and Eunjong Ra, Examining the OPM: Form, Function, and Policy Implications (Penn
                 State College of Education, Dec. 2021).




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OPM Contracts Often        Information we obtained from OPM companies and survey results
Include Recruiting         suggest that a significant share of OPMs provide student recruiting
                           services—a service subject to Education’s oversight of the ban on
Services and Tuition       incentive compensation. 35 According to information we collected from
Revenue Sharing, Making    seven of the largest OPMs, five of them offered colleges a set of services
Them Subject to            that almost always included student recruiting. Another OPM offered
Education’s Oversight of   colleges the option to use its student recruiting services, but did not
the Incentive              indicate how frequently colleges actually use this service. 36
Compensation Ban           Survey data that we obtained from the higher education research firm
                           Eduventures Research also suggest that student recruiting is among the
                           most commonly provided OPM services. According to the 49 survey
                           respondents whose colleges contracted with an OPM, the most
                           commonly provided OPM services included student recruiting (33),
                           program marketing (31), and marketing analytics (27). Other commonly
                           provided OPM services, according to survey respondents, included:
                           developing the online course, student and faculty support, management
                           of the online teaching and learning environment, and student retention
                           services. Published findings from a survey of college chief online officers
                           conducted in 2019 also found that the services most frequently provided
                           by OPMs included marketing online programs (73 percent), market
                           research (71 percent), and recruiting students (65 percent). 37 OPMs can
                           provide student recruiting and marketing expertise that a college may not
                           have (see text box for an example from one college official we spoke
                           with).




                           35According to officials from Eduventures Research and the seven OPM companies we
                           contacted, OPMs typically do not provide colleges with financial aid administration
                           services. Education recently conducted a review of one of the largest OPM companies
                           and determined it is not a third party servicer, as the term is defined in the Higher
                           Education Act, which describes entities that perform specific financial aid administration
                           services for colleges.
                           36One of the seven OPMs that we contacted said that student recruiting is not among the
                           services it provides.
                           37This survey was conducted by Quality Matters, a U.S. quality assurance organization
                           focused on online learning, and Eduventures Research, a higher education research and
                           advisory company. The survey sample for this study included chief online officers from
                           367 colleges. Richard Garrett, Ron Legon, and Eric Fredericksen, CHLOE 4: Navigating
                           the Mainstream, The Changing Landscape of Online Education, Quality Matters and
                           Eduventures Survey of Chief Online Officers (2020), accessed Aug. 6, 2020,
                           https://www.qualitymatters.org/qa-resources/resource-center/articles-resources/CHLOE-
                           project.




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                  Example of a college working with an online program manager
                  (OPM) for marketing and student recruiting services
                  An official from a medium-sized 4-year public college explained why the
                  college decided to contract with an OPM to support its business and
                  education online graduate degree programs. This official told us that
                  the college relies on its OPM for marketing and student recruiting
                  services, explaining that it is hard for the college to compete with the
                  larger public colleges in the state and with large, nationally-known
                  colleges that offer online programs. This official said that most online
                  programs will enroll students within a radius of about 90 miles from the
                  college, and believes a college cannot expect to be competitive outside
                  its home state without the advertising reach and resources of an OPM.
                  The college official said that the primary indicator the college uses to
                  measure the OPM’s success is its completed application and
                  enrollment rates.
                 Source: GAO interview. | GAO-22-104463




                 Many OPM contracts include tuition revenue sharing provisions, which
                 Education addresses in its Dear Colleague Letter. According to the letter,
                 third parties can provide colleges with recruiting services in exchange for
                 a share of the program’s tuition revenue—but only if payment is made for
                 a bundle of services and certain other conditions are met to safeguard
                 against abusive recruiting practices. Officials from five of the largest OPM
                 companies that provide recruiting services informed us that colleges
                 always pay them with a share of tuition revenue. 38 An official from a sixth
                 large OPM informed us that it is usually paid with a share of tuition
                 revenue, although in a few instances it receives a set fee for services. 39

                 Data from the Eduventures survey also found that the majority of survey
                 respondents whose colleges contract with an OPM for student recruiting
                 pay the OPM with a share of tuition revenue (25 of 32). Among these
                 respondents, most (16 of 25) pay between 41 and 60 percent of tuition to
                 the OPM, and four respondents said their college pays the OPM 61


                 38This includes one company that charges colleges a fee per total enrollment hours, in
                 addition to other fees. According to Education’s Dear Colleague Letter, this payment
                 structure meets the definition of tuition sharing.
                 39Data provided by these OPM companies refer specifically to academic programs that
                 are eligible for federal student aid.




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                          percent or more. 40 Researchers who conducted this survey told us they
                          have found that clauses stipulating that a college will pay an OPM a
                          greater share of tuition revenue as student enrollment in a program
                          increases are becoming more common in OPM contracts.

                          Education has faced questions about how to interpret and apply its
                          safeguards, as they are currently described in its Dear Colleague Letter.
                          Some of these questions have included how to determine whether a
                          college is sufficiently independent and unaffiliated with the OPM provider
                          and what constitutes a sufficient bundle of OPM services. Education
                          officials told us the agency is currently reviewing its guidance on the
                          incentive compensation ban and how it applies to OPM arrangements for
                          possible revisions to address some of these issues. Education officials
                          also told us that lessons learned from its ongoing program reviews
                          assessing colleges’ tuition revenue-sharing arrangements with OPMs will
                          inform their plans for revising this guidance.


Education Does Not
Ensure that It Obtains
the Information
Needed to Fully
Assess OPM
Arrangements for
Compliance with
Incentive
Compensation Ban



                          40The Century Foundation reported similar findings in a 2019 review of selected contracts
                          between public colleges and OPM providers. The review found that over half of the
                          contracts indicated the college would pay the OPM with a share of tuition revenue,
                          typically between 40 and 65 percent of tuition revenue. The Century Foundation reviewed
                          79 contracts from public colleges, and of these, 41 were directly relevant to the
                          management of online programs and did not include contracts that only addressed access
                          to software like learning management systems. Stephanie Hall and Taela Dudley, Dear
                          Colleges: Take Control of Your Online Courses (The Century Foundation, Sept. 2019).




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Limited Instructions to         Education relies primarily on information collected during annual
Auditors Make It Difficult to   compliance audits conducted by independent auditors to ensure that
                                OPMs and recruiting staff are not paid in ways that violate the incentive
Fully Assess OPM
                                compensation ban; however, instructions provided to auditors are missing
Arrangements for                references to key details and guidance to help auditors fully assess
Incentive Compensation          colleges’ arrangements with OPMs. To assess these arrangements for
Violations                      potential violations and ensure compliance, Education officials told us
                                they expect auditors to review how an OPM and its recruiters are paid.
                                Specifically, when a college contracts with an OPM for student recruiting,
                                Education’s Dear Colleague Letter states that the college can pay the
                                OPM with a share of tuition revenue only if the payment is for a bundle of
                                services and other safeguards are in place. Additionally, the statutory ban
                                on incentive compensation prohibits recruiters employed by the OPM
                                from receiving incentive payments based on their success in enrolling
                                students.

                                Instructions to auditors lack key details to ensure they identify all
                                relevant OPM arrangements. Auditors use instructions in the
                                Compliance Supplement to evaluate public or nonprofit colleges that
                                receive federal funds from Education. These suggested audit procedures
                                direct auditors to determine whether the college conducts student
                                recruiting internally or contracts with a third party, which includes OPMs
                                according to Education officials. 41 However, these instructions do not
                                specifically state that auditors should inquire about any applicable
                                arrangements colleges have with OPMs. Moreover, these instructions do
                                not specifically state that auditors should review OPM arrangements that
                                include recruiting students for education programs that are not eligible for
                                federal student aid, such as short-term bootcamps, which are also subject
                                to the incentive compensation ban.

                                Because auditors are not instructed to ask college officials about OPM
                                arrangements that include recruiting, college officials may not identify all
                                relevant OPM arrangements. As a result, auditors may miss an
                                opportunity to assess these arrangements for potential violation of the
                                incentive compensation ban. Audit organization officials we interviewed
                                said it would be helpful to include language that prompts auditors to
                                specifically ask about any contracts a college may have with an OPM for
                                recruiting to ensure that auditors are aware of all relevant OPM


                                41Colleges  may also contract with third parties for general student recruiting that is
                                unrelated to online programs. The incentive compensation ban applies to third parties
                                engaged in student recruiting for both online and campus-based education programs.




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                 arrangements that should be assessed for compliance with the incentive
                 compensation ban.

                 Instructions to auditors lack key details to ensure they fully assess
                 how OPM recruiters are paid. The Compliance Supplement generally
                 directs auditors to review information about how colleges recruit students
                 and pay third parties involved in recruiting; however, the suggested audit
                 procedures do not direct auditors to review compensation information for
                 recruiters employed by OPMs. Specifically, if an auditor determines that a
                 college contracts with a third party for student recruiting, the Compliance
                 Supplement instructs auditors to obtain a copy of the contract and identify
                 any provisions in the contract that might violate the incentive
                 compensation ban regulations. These instructions also direct auditors—
                 only under limited circumstances—to determine whether the third party
                 made prohibited incentive payments. 42

                 However, these instructions do not direct auditors to review compensation
                 information for recruiters employed by the third party. Officials we spoke
                 with from one audit organization that has audited colleges with OPM
                 arrangements told us that their auditors do not collect compensation
                 information for contracted recruitment staff. In contrast to the Compliance
                 Supplement, the OIG audit guide, which is applicable only to for-profit
                 colleges, directs auditors to review compensation information for
                 contracted recruiters. However, colleges that contract with OPMs are
                 predominantly public or nonprofit colleges, which are subject to audit
                 instructions in the Compliance Supplement, rather than the OIG audit
                 guide.

                 Instructions to auditors do not reference key guidance needed to
                 fully assess how OPMs are paid. The suggested audit procedures in
                 the Compliance Supplement lack key guidance needed to ensure auditors
                 fully assess colleges’ arrangements with OPMs for potential violations of
                 the incentive compensation ban. While the Compliance Supplement
                 refers auditors to the Higher Education Act and regulations relevant to the
                 ban on incentive compensation, it does not refer to the 2011 Dear
                 Colleague Letter, which contains important information for evaluating
                 OPM arrangements. Even though it is not cited in the Compliance
                 Supplement, Education officials told us that they expect auditors to

                 42Specifically,
                               the Compliance Supplement instructs auditors to determine if the college
                 made payments to the third party in excess of the contract. If a college has made excess
                 payments, the auditor is instructed to determine whether the third party used them for
                 incentive payments.




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                 consider the Dear Colleague Letter when evaluating a college’s
                 arrangement with an OPM.

                 Officials we interviewed from four audit organizations told us they expect
                 auditors to follow instructions in the Compliance Supplement. Audit
                 officials said that if guidance relevant to determining compliance is not
                 specifically cited in the instructions, auditors generally do not consider it.
                 Officials from three audit organizations told us that if guidance in the 2011
                 Dear Colleague Letter is important for evaluating compliance, then it
                 would be helpful to have the letter specifically cited in the Compliance
                 Supplement. Officials added that if the letter is not cited, auditors would
                 not know to consider it.

                 If relevant guidance is not included in the Compliance Supplement, it is
                 up to individual auditors’ discretion to conduct additional research to
                 determine if Education has issued any relevant guidance and decide
                 whether they should consider it in their evaluation. 43 Education has issued
                 other Dear Colleague Letters with guidance on other aspects of federal
                 student aid programs and cited those in the Compliance Supplement to
                 clarify compliance requirements. The Education OIG has further indicated
                 that this particular 2011 Dear Colleague Letter provides important
                 guidance for assessing compliance with the ban on incentive
                 compensation, as it refers auditors to this letter in the OIG audit guide for
                 for-profit colleges.

                 Federal regulations require Education to work with OMB to ensure that
                 the Compliance Supplement contains the key details and guidance the
                 agency considers critical to assess compliance with program
                 requirements. 44 Moreover, standards for internal control in the federal
                 government state that agency management should design control
                 activities to achieve its objectives and share quality information with
                 external parties to help the agency achieve its objectives. 45 Because the
                 Compliance Supplement does not specifically mention OPMs, direct
                 auditors to review compensation information for contracted recruiters, or
                 reference the Dear Colleague Letter, auditors may miss key information
                 when assessing OPM arrangements. More detailed instructions to

                 43The  purpose of the Compliance Supplement is to compile the important compliance
                 requirements federal agencies expect auditors to consider as part of an audit so that
                 auditors do not have to research the many laws and regulations for each program.
                 44See   2 C.F.R. § 200.513(c)(4).
                 45GAO-14-704G.




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                              auditors for assessing how OPMs and recruiters are paid would help
                              ensure that audit findings provide Education with the information it needs
                              to fully assess colleges’ OPM recruiting arrangements for compliance with
                              the incentive compensation ban.

Education’s Instructions to   Education’s instructions to colleges about their responsibilities during
Colleges Lack Key Details     compliance audits and program reviews lack details specifying the
                              information colleges must provide to auditors and Education staff with
on Information Needed to
                              respect to OPM arrangements that include student recruiting. Education
Assess OPM                    provides instructions about program review procedures in its Program
Arrangements                  Review Guide for Institutions and directs colleges to the Compliance
                              Supplement for more information on audits, but these instructions lack
                              key information relating to OPMs:

                              •   Program Review Guide for Institutions: In its Program Review
                                  Guide for Institutions, Education instructs colleges to inform Education
                                  staff of any arrangements with third parties for recruiting services.
                                  This guide also instructs colleges to provide Education with the
                                  contract and information about contracted recruiter compensation.
                                  However, these instructions do not specifically state that these
                                  requirements apply to all OPM arrangements that involve recruiting,
                                  including arrangements that support short-term programs.
                              •   Compliance Supplement: For instructions on audits, Education
                                  directs colleges to the Compliance Supplement for information on
                                  compliance audit procedures. However, as we have described, the
                                  Compliance Supplement does not specifically direct auditors to ask
                                  college officials to identify all OPM arrangements for recruiting
                                  services, nor does it state that auditors must obtain information about
                                  how OPM recruiters are paid.

                              Education also provides information about the ban on incentive
                              compensation and an overview of compliance audits and program
                              reviews in the Federal Student Aid Handbook—a comprehensive annual
                              guide for colleges on the regulatory and administrative requirements for
                              federal student aid programs. While the handbook’s section on the
                              incentive compensation ban refers to Education’s Dear Colleague Letter,
                              it does not specify that arrangements between colleges and OPMs that
                              conduct student recruiting are subject to the ban. It also does not inform
                              colleges that such OPM arrangements are subject to Education’s
                              oversight and that these OPM contracts should be shared with Education
                              staff and independent auditors for review.




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                 Auditing officials told us that they rely on colleges to inform them of any
                 arrangements that include student recruiting, but colleges may not always
                 report OPM arrangements. Officials from two audit organizations told us
                 that none of the colleges they audited informed them of any contracts with
                 OPMs for recruiting services and an official from another audit
                 organization provided the perspective that colleges run their online
                 programs internally and do not contract with OPMs for student recruiting.
                 However, publicly available information on OPM arrangements indicated
                 that each of these organizations had audited colleges that in fact do have
                 contracts with OPMs that often provide recruiting services. Auditing
                 officials told us that college officials may not inform auditors of all OPM
                 arrangements because college staff do not consider them relevant to a
                 compliance audit. According to these officials, this may occur because
                 college officials generally think about recruiting services provided more
                 broadly at the college level and may not think to inform auditors of OPMs
                 that provide recruiting services for individual programs. However, college
                 officials are required to inform auditors of all OPM arrangements for
                 recruiting services, including those for individual programs.

                 Similarly, during program reviews, Education also relies on colleges to
                 inform the agency of any arrangements that include student recruiting.
                 However, Education officials told us that it is common for college officials
                 not to inform them of relevant OPM arrangements. For example, a college
                 official responding to a request for information for a program review may
                 not be aware of all OPM arrangements at the college that include student
                 recruiting. Education officials provided details about a specific instance
                 where college officials did not disclose an OPM arrangement during a
                 program review, but Education later learned about the arrangement when
                 the agency conducted a review of the OPM provider to learn more about
                 its potential financial aid administration services. Through its review of the
                 OPM, Education learned that the OPM conducted student recruiting for
                 the college, yet few college staff knew details about the services the OPM
                 provided.

                 Further, colleges may not report all relevant OPM arrangements subject
                 to the incentive compensation ban, such as those that support short-term
                 programs. Education officials told us that the agency has not yet
                 conducted a program review where the college identified an OPM
                 arrangement that supported such programs. Education officials said they
                 are likely not notified of relevant OPM arrangements because their
                 instructions to colleges do not clearly state that college officials are
                 responsible for identifying all OPM arrangements that include recruiting
                 services.


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                 Education officials also told us that even when college officials inform
                 them of relevant OPM arrangements, the agency has challenges
                 obtaining complete information about the arrangements. Specifically, they
                 said that some colleges have withheld or redacted relevant sections of
                 OPM contracts during program reviews and have not provided
                 information about OPM recruiter compensation. According to Education
                 officials, this is because college officials incorrectly believed that the Dear
                 Colleague Letter exempts OPM arrangements for student recruiting from
                 Education’s review if recruiting services are provided as part of a bundle
                 of services.

                 Although Education does not consider tuition revenue-sharing payments
                 to violate the incentive compensation ban if the conditions in the Dear
                 Colleague Letter are met, Education is responsible for reviewing colleges’
                 OPM arrangements to see if those conditions are met. Education officials
                 described one instance where the agency had to notify a college that it
                 would not be able to contract with an OPM for recruiting services if it did
                 not provide the contract for agency review. In instances where colleges
                 initially refused to provide their OPM contracts, Education officials told us
                 they ultimately obtained them. Education officials said they believe their
                 difficulties in obtaining information about colleges’ OPM arrangements is
                 likely because their instructions to colleges do not clearly state that these
                 types of arrangements are subject to Education’s review. Education
                 officials told us that they need to improve their instructions to colleges to
                 make it clear that colleges must provide any OPM contracts for recruiting,
                 as well as information about how OPM recruiters are paid.

                 Education has assessed relatively few college arrangements with OPMs
                 for compliance with the incentive compensation ban. According to
                 Education’s data, 16 completed compliance audits and five completed
                 program reviews have reported incentive compensation findings since
                 2012, but none of these violations involved a college’s arrangement with
                 an OPM. 46 However, as colleges’ use of OPMs has grown, Education has
                 started to review more OPM arrangements. Education officials told us the
                 agency is currently conducting five program reviews involving OPM
                 arrangements, but these reviews are ongoing with no final decisions yet.
                 Education officials said that they have learned a lot about the OPM

                 46Education’s   OIG reported that it conducted eight investigations of colleges that involved
                 incentive compensation from fiscal year 2012 through 2020. One investigation was closed
                 due to insufficient information and seven resulted in a civil settlement agreement. Out of
                 those seven, only one involved a college’s arrangement with an OPM for recruiting
                 services.




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                         industry in recent years and believe that additional instructions are
                         needed for college officials.

                         The Higher Education Act requires Education to establish procedures for
                         conducting program reviews and provide this information to colleges.
                         Further, standards for internal control in the federal government state that
                         managers should share quality information with external parties to help
                         the agency achieve its objectives. 47 However, Education’s instructions do
                         not clearly communicate to colleges their responsibilities for sharing
                         information about their OPM arrangements during compliance audits and
                         program reviews. Without clear instructions to colleges that specifically
                         state that colleges are required to inform auditors and Education staff
                         about OPM arrangements that include recruiting and provide these
                         contracts, there is a risk that Education may not identify potential
                         violations of the incentive compensation ban.

                         As enrollment in online education continues to grow, colleges are
Conclusions              increasingly looking to OPM providers to help them develop and deliver
                         their online programs. Available information suggests that a significant
                         share of OPMs recruit students for enrollment in the online education
                         programs they support, and that many OPMs are paid with a share of
                         tuition revenue generated by these online programs. Education’s 2011
                         Dear Colleague Letter contains important agency guidance for evaluating
                         such arrangements to prevent prohibited incentive compensation
                         payments and to safeguard against abusive recruiting practices.
                         Determining whether colleges’ arrangements with OPMs comply with the
                         ban on incentive compensation requires independent auditors and
                         Education’s program review staff to ensure that these safeguards are in
                         place and that OPM-employed recruiting staff are not receiving incentive
                         payments. To protect students from predatory recruiting practices, it is
                         important for Education to ensure that OPMs that provide recruiting
                         services for colleges, as well as OPM recruiting staff, do not receive
                         incentives based on their success enrolling students. Without clearer
                         instructions to auditors and colleges about the information on OPM
                         arrangements that must be assessed during compliance audits and
                         program reviews, there is a risk that Education will not have the
                         information it needs to detect incentive compensation violations.




                         47GAO-14-704G.




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                        We are making the following two recommendations to Education:
Recommendations for
Executive Action        The Secretary of Education should provide additional instructions for
                        inclusion in the Compliance Supplement to help auditors better identify
                        and assess potential incentive compensation ban violations when a
                        college contracts with an OPM. Additional instructions should prompt
                        auditors to ask specifically about OPMs, direct auditors to obtain and
                        assess compensation information for OPM staff who provide recruiting
                        services, and reference relevant guidance including the 2011 Dear
                        Colleague Letter. (Recommendation 1)

                        The Secretary of Education should provide additional instructions to
                        colleges regarding the information they must provide about their OPM
                        arrangements during compliance audits and program reviews. Additional
                        instructions should explain that colleges are responsible for both
                        identifying all OPM contracts that include recruiting, and then providing
                        auditors and Education’s program review staff with copies of those
                        contracts and information on how covered OPM staff are compensated.
                        (Recommendation 2)

                        We provided a draft of this report to the Department of Education for
Agency Comments         review and comment. In its comments, reproduced in appendix I,
                        Education agreed with both recommendations. We also provided relevant
                        sections of the report to LISTedTECH for review and comment, and
                        LISTedTECH agreed that GAO accurately presented its information and
                        had no technical comments.

                        In its formal comments, Education agreed that colleges are increasingly
                        seeking out OPMs to help administer their online education programs and
                        that this development presents challenges for the agency’s oversight of
                        the ban on incentive compensation. Education noted that colleges that
                        contract with OPMs and auditors of those contracts should be aware of
                        their responsibilities regarding the ban on incentive compensation.

                        In response to the first recommendation, Education agreed that the
                        Compliance Supplement’s treatment of the ban on incentive
                        compensation can be strengthened and stated that it plans to propose
                        revisions to the Compliance Supplement to OMB. Education noted that its
                        proposed revisions will provide relevant guidance, including the 2011
                        Dear Colleague Letter. According to Education, proposed revisions will
                        also suggest procedures for auditors to obtain and assess information
                        about college or third party staff performing any functions covered under
                        the ban, including student recruitment.


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                 In response to the second recommendation, Education stated that it will
                 revise its instructions to colleges about program reviews and audits to
                 improve the agency’s enforcement of the ban on incentive compensation.
                 According to Education, the agency’s revised instructions will identify the
                 types of information that colleges must provide about contracts with third
                 parties—including contracts with OPMs for student recruiting services.
                 Education also stated that it would reinforce for colleges that the ban on
                 incentive compensation applies to all educational programs they offer.

                 As agreed with your offices, unless you publicly announce the contents of
                 this report earlier, we plan no further distribution until 30 days from the
                 report date. At that time, we will send copies of this report to the
                 Secretary of Education, appropriate congressional committees, and other
                 interested parties. In addition, the report will be available at no charge on
                 the GAO website at http://www.gao.gov.

                 If you or your staff have any questions about this report, please contact
                 me at (617) 788-0534 or emreyarrasm@gao.gov. Contact points for our
                 Offices of Congressional Relations and Public Affairs may be found on
                 the last page of this report. GAO staff who made key contributions to this
                 report are listed in appendix II.




                 Melissa Emrey-Arras
                 Director,
                 Education, Workforce, and Income Security




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Appendix I: Comments from the U.S.
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Appendix II: GAO Contact and Staff
                            Appendix II: GAO Contact and Staff
                            Acknowledgments


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                            In addition to the individual named above, Michelle St. Pierre (Assistant
Staff                       Director), Karissa Robie (Analyst in Charge), Jessica Ard, and Myra
Acknowledgments             Francisco made key contributions to this report. Also contributing to this
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